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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

DEBORAH K. MURPHY-DAVIDSON,
an individual,

                     Plaintiff,

                                                        Case   No.: I4-cv-00779

KENNETH J. STOLL,                                       Hon. Ray Kent
an individual, and                                      Magistrate Judge
COMFORCARE SENIOR SERVICES _
MID MICHIGAN, a limited liability company,

                     Defendants,

AND

KENNE,TH J. STOLL,
an individual. and
COMFORCARE SENIOR SERVICES _
MID MICHIGAN, a limited liability company

                     Counter-Plaintiffs"

v.

DEBORAH K. MURPHY-DAVIDS ON"
an individual,

                     Counter-Defendant.



                     TRIAL BRIEF OF KENNETH J. STOLL AND
                 COMFORCARE SENIOR SERVICES - MID MICHIGAN. LLC


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                                      INTRODUCTION

         This case arises out of a short-term employment relationship between Deborah K.
Murphy-Davidson ("Ms. Davidson"), the plaintiff, and Kenneth           J. Stoll ("Mr. Stoll") and
ComForcare Senior Services, Mid-Michigan, LLC ("ComForcare"), the defendants and counter-
plaintiffs.
         ComForcare   is a home caregiver franchise of Stanton, Michigan.In 2012 and 2013,
ComForcare provided homecare services for an elderly couple of Lakeview, Michigan, Donald
and Imelda    Kring, During the winter    months, the ComForcare franchise in Venice, Florida
assumed their   care. Ms. Davidson was one of two ComForcare's employees assigned to their
care in Michigan.

         On 22 July 2014, approximately one year and one month after ComForcare terminated
Ms. Davidson's employment for entering into a private pay relationship with the Krings, she sued
ComForcare and its co-owner Ken Stoll for alleged assault and battery and      civil stalking. Ms.
Davidson alleges that Mr. Stoll, while acting within the scope of his employment, assaulted and
stalked Ms. Davidson     in an attempt to use self-help to enforce an employee       non-compete
agreement. Ms. Davidson made a criminal complaint against Ken Stoll for assault and battery
which was subsequently dismissed by the county prosecutor. Ms. Davidson and the Krings also
obtained a personal protection order against Mr. Stoll for alleged stalking.
         Mr. Stoll has countersued Ms. Davidson for malicious prosecution, based upon her false
report of assault and battery. ComForcare has also countersued Ms. Davidson for tortious
interference of its contractual relationship with the Krings and for breach of her employment
contract.



    I.        FACTS
         The Stanton ComForcare franchise is a family-run business. Dawn Stoll, Mr. Stoll's wife,
is the co-owner and office manager. There are several other office personnel including          an

account receivable's clerk, a payroll clerk and a scheduler.       In 2013, during the non-winter
months, they served over 170 clients. On any typical business day, Mr. Stoll drives around the




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service area in a clearly marked company car making both announced and unannounced visits to

clients and his caregiver employees.In2013, the agency employed nearly 100 care-givers.
        On26 April 2013, Ms. Davis, along with six other new employees, attended a company
orientation. The new employees watched a video, received a packet of materials including                      a

ComForcare Employee Handbook, and signed an acknowledgement for the handbook which also
contained a non-compete agreement.l Ms. Davidson also signed a confidentiality agreement and
agreed to retum all property to ComForcare upon termination.

        On 5 May 2013, Ms. Davidson was assigned to provide caregiver services to the Krings
at their Lakeview residence. She was scheduled to work at the Kring home                   t   hours per day,
Monday through Friday. During that time, ComForcare employee Emme Manners provided
caregiver services to the Krings on weekends.
        The Krings were "snow-birds." They had been ComForcare clients in Stanton, Michigan
and Venice, Florida since 2012, and had signed a contract               for services with both franchise
agencies. The week of June 3,2013, ComForcare             in Stanton received notification that the Krings
were no longer in need of their services. Ms. Manners was notified and immediately accepted
another assignment with another         client.   Scheduler Rae Wireman's attempts             to contact   Ms.

Davidson were unsuccessful.
        The following week, Mr. Stoll made a home visit to the Krings to check on their well-
being and gave Mr. Kring a pound of premium coffee at their lakeside residence.                        At her
deposition, Ms. Davidson testified that, unbeknownst to Mr. Stoll, she was hiding in the home                of
David and Mary England next door. The Englands were the Kring's daughter and son-in law.
Ms. Davidson quit working for the Krings after her shift on 3 June 2013, but did not




' The acknowledgement form, dated 26 April 2013, contains the following unambiguous
language immediately above Ms. Davidson's signature. "Furthermore, I understand that I am not permitted to make
any private employment arrangements with ComForcare's clients or their farnilies. I understand that any such
anangement is grounds for immediate termination and may result in my being liable to ComForcare for any damages
and/or costs ComForcare suffers as a result of such an arrangement. These costs may be in excess of $5,000.00.




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acknowledge Rae Wireman's text message that the Krings were no longer in need of care until 7

June 2013.2

        On 10 June 2013, Mr. Stoll appeared at the Lakeview residence that Ms. Davidson shared
with her then live-in boyfriend, concerned for her well-being. He left his business card with                   a

note asking her to call him. Shortly after that, Ms. Davidson called the office for the first time
since the Krings discontinued service and spoke with            Mr. Stoll. Ms. Davidson informed Mr.
Stoll that she was going back to school but to keep her on the employment roster for future
assignments. It was a cordial conversation and Mr. Stoll had no indication at that time that Ms.
Davidson had entered into a private pay relationship with the Krings.


        A. Ms. Davidson's Causes of Action against Ken Stoll for alleged Civil Stalking.

        Mr. Stoll's alleged attempts to contact Ms. Davidson during the week of June 3 to                 June

27 is basis of Ms. Davidson's stalking complaint.               It   was also the basis upon which          she

petitioned and received and obtained a personal protection order against Mr. Stoll for alleged
stalking in the Montcalm County Circuit Court. In her petition for a PPO, Ms. Davidson wrote
in pertinent parl: "he came to my house because I never returned his calls or texts."
        At the hearing, Ms. Davidson testified that "[h]e (Mr. Stoll) has repeatedly called                 me
within a 3 week period, over 100 times. . ." (T, 6.) She also testified that Mr. Stoll paid a visit to
her home on June 20tl' when she was not home (at her deposition, she clarified                it was the l0tl')
and had a subsequent telephone conversation the same day. (T,             9-10) She also claimed that from
3 June (the date the Krings discontinued service) to 5 August, Mr. Kring made 4 visits to the
Kring home and "would ask the Krings about me." (T, 10) Until June 10th, it is undisputed that
Mr. Stoll did not have any personal contact with Ms. Davidson (except for an incidental sighting
at Walmart), or knew that she may have been hiding in the Kring home or in the residence of the
England's, who lived next door. (T, 10-11) On the l0tl',             Mr. Stoll received a four minute call
from Ms. Davidson who indicated that she was planning on going back to school to advance her



2Ms. Davidson's cell phone records indicate an exchange of text messages between her and Comforcare scheduler
Ray Wireman on 7 June 2013.
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education, was taking the summer off, and to keep her in mind for future part-time assignments

in the fall.
          During the PPO hearing, on cross-examination of Ms. Davidson, after being asked her
cell phone number, Ms. Davidson changed her testimony, insisting that Mr. Stoll had contacted
                                                  o'Oh,                                      (T,27) Later in the
her 34 or 35 times by phone in the 3 week period.       honestly at least 34"
hearing, she testified it was 35. (T, 43) Ms. Davidson said she first spoke to Mr. Stoll by phone
on 20 June3, advised him that she was going back to school and not to contact her regarding
future assignments. (T, 3 1)
          At her   deposition, Ms. Stoll admitted that her testimony at the PPO hearing was
"inaccurate." [See 2123 12015 Deposition Transcript, pages 67 -] 0,      1   5   1, 1 52.1

          At her deposition, Ms. Davidson changed her testimony and now claimed that on 27 June
2073, she sent a text message to Mr. Stoll and Rae Wireman to "leave her the hell alone" - the
same day that she allegedly parted ways           with Mr. Dilley, her live-in boyfriend of three        years.o

The evidence  will show that Mr. Stoll did not have texting capability on his phone during the
period in question - either to send or receive text messages.5 Mr. Stoll will testify that the 27
June conversation was his offering Ms. Davidson a part-time assignment, which she declined.
The parlies do not dispute there was no more contact between the parties until 5 August 20n.6
It is also undisputed that there was no alleged violation of the Circuit Court's Personal Protection
Order issued on 8 Ausust 2013.




3   At her deposition, she said she meant june   10th.


aMs. Davidson's phone records indicate there were no calls or text messages made to Mr. Stoll, Ms.
Wireman or any number associated with ComForcare on that date.

sThe business and personal phone records of the parties indicate that the next phone contact Ms.
Davidson had with Mr. Stoll was on 06-27-2013 at2:18 p.m. for three minutes.

6 Ms. Davidson also testified to an incidental encounter with Mr. Stoll at the Greenville Walmart at an
unspecified date, while she was shopping with her former live-in boyfriend, one Bernard Daren Dilley.
She testified that she broke up with Mr. Dilley on27lune2073.
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       B. The assault alleged on 5 August.
       On 5 August 2013, Mr. Stoll made an unannounced visit to the Krings. Upon driving up,
he saw Ms. Davidson run past the living room window into the rear of the house.     Mr. Stoll was
invited in by Mr. Kring and a conversation ensued. Mr. Kring confirmed that Ms. Davidson was
hiding in the back bedroom. Mr. Stoll knocked on the bedroom door and asked her to come
out. Both parties agree there was a confrontation between the parties in a three-foot wide hall
way outside the bedroom. What happened next is dependent upon the credibility of Ms.
Davidson and Mr. Stoll, as there were no other witnesses to the alleged assault. In the police
report, Ms. Davidson told Trooper Umphrey that she and Mr. Stoll were fighting over the box         of
gloves "like little kids." She claimed that Mr. Stoll grabbed her right arm and twisted it. There is
no mention in the report of Mr. Stoll pushing her, ramming her or pushing her into the door
frame. She claimed that Mr. Stoll reeked of alcohol.


       C. Ms. Davidson's deposition testimony. At her deposition, Ms. Davidson claimed that
she was not hiding   in the back bedroom but making the bed. She said she was privy to              an

extended conversation between   Mr. Stoll and Mr. Kring over Mr. Kring's violation of his
contract with ComForcare. She claims that Mr. Stoll then came to the back bedroom and began
to bang on the door, When she didn't answer, he opened the door. According to her, Mr. Stoll
had a box of rubber gloves and ComForcare    "flow sheet" under his arm. In the doorway, they
got into an argument over the ownership of the box of gloves. She testified that Mr. Stoll

became angry after she took the box   of gloves away from him. She said he "reeked of alcohol."
At that point, she said Mr. Stoll violently pushed her with both hands against her chest where she
struck her right shoulder and head against the door jam. She then testified that he lowered his
shoulder in a football stance and rammed her two or three more times into the door jam; both
times she struck her head and shoulder against the door frame. The box of gloves and flow sheet

fell to the floor and she was eventually able to     escape.   Mr. Stoll then allegedly pursued her
outside where she instructed her alleged former boyfriend, Darren Dilley, who was then
unemployed and working for the Krings as a painter, to call the police.




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       D. Mr. Stoll's version of events.      The plaintiff has chosen not to take Mr. Stoll's

deposition or any deposition during the discovery period. During the criminal assault complaint

investigation, Mr. Stoll was completely cooperative and gave a statement to Michigan State
Police Trooper Michael Umphry. Again, Mr. Stoll saw Ms. Davidson go into the back bedroom
as he approached the house.      Mr. Kring invited him inside. Messrs. Stoll and Kring had an
extensive conversation about Mr. Kring's alleged violation of the ComForcare home services
agreement. At one point Mr. Stoll went back out to his car to retrieve a copy of the paperwork
that Mr. Kring had signed. Mr. Kring confirmed that Ms. Davidson was in the rear of the house.
On the kitchen table,   Mr. Stoll found   a distinctive box   of ComForcare-issued gloves and partially
filled out "flow sheet" that ComForcare routinely        issues   to its caregivers. Mr. Stoll picked up
these items   off the counter and then proceeded to the back bedroom door which was closed. He
informed Ms. Davidson that he knew she was there and asked her to come out. Ms. Davidson,
not Mr. Stoll, opened the door, and began to curse and threaten him. She ripped the box of
gloves and flow sheet from his hand. When he bent down to pick these items up, she pushed him

against the wall. During this time, she began yelling, "you pushed me, you pushed               me!"   Ms.
Davidson followed Mr. Stoll out the door and she continued to yell accusing him of an assault.
Her boyfriend or former boyfriend, one Bernard Darren Dilley, working outside as a painter,
then threatened to beat Mr. Stoll so he got in his car and        left. Mr. Stoll immediately   returned to

the office, and wrote a letter to the Krings apologizing for the disturbance and also wrote a letter
to Ms. Davidson, terminating her employment.
       For the balance of the day, Mr. Stoll worked in close proximity with Rae Wireman and
the remainder of the office staff. None of them smelled any alcohol on Mr. Stoll's person.




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          II.      ANTICIPATED LEGAL ISSUES AT TRIAL

                   A.   WHETHER MR. STOLL AND COMFORCARE, AS DEFEDANTS AND
                        COUTNER-PLAINTIFFS, AS SEPARATE LEGAL ENTITIES, SHOULD
                        EACH BE GIVEN THREE PREEMPTORY CHALLEGNES.


                Each side in a civil case are entitled to three preemptory challenges.T The Courl has
discretion         to consider more than one plaintiff or defendant a single entity or award three
preemptory challenges to each separate entity.8 Although represented by the same counsel, Mr.

Stoll and ComForcare are separate legal entities. Dawn Stoll has an equal ownership interest in
the corporation and her interest could be adversely affected                 if   the company is not given the
opportunity to select a fair and impartial jury though the exercise of preemptory challenges. In
its answer, ComForcare has assefted for example, that Mr. Stoll's actions,                      if   believed, were
committed outside the scope of his employment - an antagonistic defense. The petit jurors may
harbor different attitudes toward an individual and small business corporation. Both co-
defendants and counter-plaintiffs are requesting that Courl that they each be given three
preemptory challenges.



                   B. WHETHER KENNETH'S STOLL'S ACTIONS AS ALLEGED BY                                            MS.
                        DAVIDSON CONSTITUES STALKING.


                In Michigan, stalking is "a willful course of conduct involving repeated or continuing
harassment          of another individual" whereby the victim of repeated or continuous harassment                   -

actually is, and a reasonable person would be, caused to feel terrorized, frightened, intimidated,




i 28 U.S.C. $ 1870 provides: In civil cases, each party shall be entitled to three peremptory challenges. Several
defendants or several plaintiffs may be considered as a single parly for the purposes of making challenges, or the
court may allow additional peremptory challenges and permit them to be exercised separately or jointly.

t   rd.
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threatened, harassed, or molested. (emphasis added)e            Specifically, "course of conduct' "means
a pattern    of conduct composed of a series of 2 or more separate noncontinuous acts evidencing a
continuity of purpose."l0 In turn, "harassment" is defined as: "conduct directed toward a victim
that includes, but is not limited to, repeated or continuing unconsented contact that would cause a
reasonable individual to suffer emotional distress and that actually causes the victim to suffer
emotional distress."ll (underscore added) "Harassment does                     not include      constitutionally
protected activity or conduct that serves a leqitimate plrrpose."l2 The petitioner has the burden to
prove the conduct has no legitimate purpos".'3 An employer contacting an employee about
employment matters serves a legitimate purpose.
           Assuming that Ms. Davidson's testimony to date regarding Mr. Stoll's alleged stalking
behavior is true (which is not the case), Mr. Stoll is entitled to judgment on this issue as a matter
of law. Specifically, Ms. Davidson has alleged, but is unable to carry her burden of proof, that
there was more than one incident of unconsented contact by Mr. Stoll after she had allegedly
indicated that she did not want any more assignments on27 June 2013.Ia Even the August                         5t1'


incident had a legitimate purpose,          in Mr. Stoll attempting to remind Ms. Davidson of her


n
 MCL 750.411h(1)(d); Nastalv. Henderson & Assocs. Investigations, Inc.,47l Mich 712, 691N.W.2d 1 (Mich.
2005); see also MCL 600.2954 (providing that a plaintiff "may maintain a civil action against an individual who
engages in conduct that is prohibited under section 41 I h or 4l I i of the Michigan penal code").


'oMCL 750.4 r 1i (a).

11   MCL 750.41lh(c)


"    Id.

13   Footnote 8, Nastal, supra.

la Again, Ms. Davidson swore in her PPO petition that "he came to my house (on June l0'n) because I never returned
his calls ortexts," Unconsented contact cannot be found in the context of an employer-employee relationship if the
employee never communicates with the ernployer that they quit or do not want further contact. Ms. Davidson's
phone records indicate that she had a four-rninute phone conversation with Mr. Stoll on the l0'h. She initiated the
call. Assuming her version of events that she informed Mr. Stoll she had quit, the next contact with Mr, Stoll
occurred on 27 July 2013 where she returned Mr. Stoll's voice mail messages. The next contact between the parties
occurred August 5th , the date of the alleged assault. Underthese facts, assuming everything Ms. Davidson says is
true, it does not constitute stalking as a mafter of law. (There was also an incidental encounter at the Greenville
Walmart between the parties at an unspecified date that also does not constitute stalking.)


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contractual responsibility and consequences for entering into a private pay relationship. In any

event, once Ms. Davidson has been fully heard on this issue, Mr. Stoll anticipates moving to
dismiss Ms. Davidson's stalking complaint under Rule 50.



                   C. WHETHER MS. DAVIDSON CAN SUSTAIN HER BURDEN                                    OF PROOF FOR
                     INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS.


           In Count III of her complaint, Ms. Davidson alleges that Mr. Stoll's conduct in stalking
her also constitutes an intentional infliction of emotional distress.l5 Ms. Davidson asserts no
facts beyond Mr. Stoll's alleged stalking or one instance                      of alleged battery to       support this
allegation. In essence, it's a mere restatement of plaintiff s civil stalking and assault complaint.
This allegation       will   also be subject to Mr. Stoll's summary judgment motion under Rule 50.
           To sustain a cause of action for intentional infliction of emotional distress, "[]iability has
been found only where the conduct has been so outrageous                          in character, and so extreme in
degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and
utterly intolerable in a civilized community."tu             "lt is initially for the trial judge to decide whether
defendant's conduct might reasonably be regarded as so extreme and outrageous                                   to allow
recovery for intentional infliction of emotional distress."lT
           At the conclusion of plaintiff s proofs, the Courl will have little difficulty finding that
Ms. Davidson's has failed to meet her burden of proof regarding Mr. Stoll's alleged stalking.
Since the intentional        infliction of emotional distress is premised upon a finding of stalkingl8, this
count of plaintiff s complaint must also fail.




1s See Complaint, Tll 38-41. It is unclear if she also claims that the alleged battery also contributes to this
finding.

16   Sawabini a. Desenberg,143    Mich App 373,383;372 NW2d 560 (1985).

17   Id, at 383.

18
     There no authority to suggest that one alleged batter or assault and battery may also constitute an intentional
infliction of emotional distress.

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         Moreover, since plaintiff has not claimed that she has suffered any additional damages
from intentional infliction of emotional distress, beyond the alleged damages for battery and
stalking, the claim is unsustainable as a matter of      law. Where two torts overlap     a plaintiff may
bring an action in both torts as long as damages are not duplicated.le


         III. COMFORCARE'S AND MR. STOLL'S COUNTER-CLAIMS


         A. BREACH OF CONTRACT


          ComForcare's business model is premised upon the employment contract and personal
integrity of their caregiver employees not to solicit or enter into private care arrangements with
their clients. On 26 Apil20l3, Ms. Davidson, along with six other newly hired ComForcare
employees, as pafi of the orientation process, received and acknowledged receipt of the

ComForcare Employee Handbook. The acknowledgement form Ms. Davidson signed and dated,
will   be admitted into evidence.

         The acknowledgement form, dated26 April2013, contains the following unambiguous
language immediately above Ms. Davidson's signature.

          "Furthermore, I understand that I am not permitted to make any private employment
         arrangements   with ComForcare's clients or their families. I understand that any such
         anangement is grounds for immediate termination and may result in my being liable to

          ComForcare for any damages and/or costs ComForcare suffers as a result of such an
          arrangement. These costs may be in excess of $5,000.00.




te
  Sawabini, supra, 143 Mich App at pp 383, 384, citing Kollenbergv. Ramirez, 127 Mich.App 345,
3s3,339 N.W.2d 176 (1983).




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          Ms. Davidson's separate agreement not to compete in the acknowledgement form was
also supported by the consideration of continued at-will employment. The agreement not to
compete is a part of the acknowledgement form itself and there is nothing to indicate that Ms.
Davidson did not intend to be bound by that agreement.
          Because the acknowledgement form creates an independent enforceable agreement and is

not ambiguous, Ms. Davidson is bound by the provision where she agreed not to enter into
private care arrangements with ComForcare's clients and their families. Unlike the non-compete
provision in the employee handbook, the acknowledgement form does not contain the $15,000
provision for liquidated damages.
          In its 28 July 2015 Opinion regarding Plaintiffs Motion for Summary Disposition, the
Court ruled that the Employee Handbook, which also contained a broad disclaimer that the
document was not a contract, could not be the basis for Comforcare's Breach of Contract Claim.
However, the Court further decided that the             jury may decide that the         corresponding
Acknowledgement Form may form the basis of an enforceable agreement not to compete.2O


          B. RELEVANCE AND ADMISSIBILITY               OF THE COMFORCARE
                EMPLOYEE HANDBOOK

          Counter-plaintiffs' theory of their case in part is that Ms. Davidson, despite her adamant
denials, received a copy of the Comforcare Employee 39-page Comforcare Employee Handbook
at the   26 Aprll2O13 orientation, along with six other newly hired home-care workers.2l That the
two month period that she engaged in a private-pay relationship and before, she was keenly
aware of its contents and the potential consequences of her actions. The Employee Handbook,
provided in pertinent part as follows:




20   Opinion,   07-28-2075, pp 8-72.

21The six other newly hired Comforcare employees, most of whom no longer work for the company, are
expected to testify that each received a copy of the handbook and a few still have kept theirs from the
orientation. Ms. Manners and others also recall that Ms. Davidson received a copy of the handbook.


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                  [a]ny employee who makes a private affangement with a client will cause
                  ComForcare to incur substantial economic damages and losses of types and in
                  amounts which are difficult to compute and ascertain. Accordingly. in addition to
                  any other relief to which ComForcare may be entitled (equitable, monetary and
                  otherwise), ComForcare shall be entitled to liquidated damages the greater    of
                  either:
                  a) ten times (10x's) the largest bi-weekly service charge/bill charged for such

                  services in the past for client who is involved in such an agreement, or b)
                  15,000.00, plus all related attorney/court costs ComForcare incurs in enforcing
                  the Client Service Agreement. Such liquidated damages are intended to represent
                  a reasonable   approximation of actual ComForcare damages and is not a penalty.
                  Employee will be required to pay this amount upon ComForcare's demand


        That the Court subsequently ruled that the above provision in the employee handbook
cannot form the basis of a contract does not negate that at the time, Ms. Davidson believed that
the provision was enforceable. That she subsequently claimed during her answer, interrogatories

and deposition not to have been given a copy of the handbook, despite overwhelming evidence to

the contrary, was her attempt to escape the monetary penalty she thoughl would be imposed upon
caretakers who enter into private pay relationships. Ms. Davidson thought she could escape the

sanctions by simply claiming that she did not receive a copy of the handbook.

        The counter-plaintiffs' further allege that Ms. Davidson's decision to falsely claim that
Mr. Stoll had assaulted her was also motivated in part by her desire to       escape the above-stated

minimum $15,000       penalty. When Mr. Stoll discovered she had entered into a private-pay
relationship, there is compelling evidence that in her mind, she was responsible for a minimum
$15,000 in damages.
        While the Employee Handbook is not admissible as the basis of an enforceable contract,
it is relevant   and admissible to show Ms. Davidson's motivation for falsely accusing    Mr. Stoll of
battery and also speaks to her lack of credibility on a material issue.

        "Relevant evidence" means evidence having any tendencv to make the existence of any

fact that is of consequence to the determination of the action more probable or less probable than

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it   would be without the evidence." (Emphasis added) The rule is broad and encourages the
admission        of as much useful        information as possible         in   making judicial determinations.
         Relevance is not the same as sufficiency. The fact that an item of evidence is not sufficient,
or in other words does not necessarily prove what one is trying to prove, does not mean that the
evidence        is   irelevant.23 Subiect     to   certain narrow exceptions,          all   relevant evidence is
admissible.2a

           The danger of confusion of the issues under FRE 403 is addressed by the jury instruction
that would allow this evidence for the limited purpose of determining Ms. Davidson's motive for
her false claim of battery and stalking.2s

           The proffered evidence also is relevant to determining Ms. Davidson's credibility on                       a

material fact.       It is always permissible upon       cross-examination of an adverse witness to pursue
facts bearing on their bias and credibility.26 A witness's credibility is a primary question for the
jury to evaluate, and questions eliciting bias, prejudice, or interest are appropriately allowed
within the trial court's discretion.2T
           The remaining issues in this trial are factual determinations within the province of the
jury.    The    jury will weigh and consider Ms. Davidson's allegations, including whether Mr. Stoll
battered her as alleged, the reason Ms. Davidson underwent elective surgery for a pinched nerve



22   FRE 401


23 Th. Michigan Supreme Courl has specifically distinguished relevance from sufficiency. In quantitative terms, the

fact that a piece of evidence has some tendency to make the existence of a fact more probable, or less probable, does
not necessarily mean that the evidence would justify a reasonable juror in reasonably concluding the existence of
that fact beyond a reasonable doubt. See Wade and Strom, Michigan Courtroom Evidence, ICLE 1989, p.7l 3.
Peoplev. Hampton,407 Mich. 354,368 (1979)

24   FRE 402.


      M Civ JI 3.07 - Evidence Introduced for a Limited Purpose
           If I admitted evidence for a limited purpose, you must not consider that evidence for any other purpose,

26   Altemose Construction Company o. NLRB, 574F.2d 8, 13 (3'd Cir.1975).


27
     Stodiu^ Authv Drinkwater,26T Mich.App.625, 653; 705 N.W.2d 549 (2005).


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in her neck, the one year delay in her alleged'onset bf symptoms and conesponding delay in
bringing this lawsuit. This, along with the issues presented in the counter-c1aim, are factual
determinations within the province of the jury.




Dated: 18 April 2016                               /s/ Thomas A. Ginster

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